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           IN THE UNITED STATES DISTRICT COURT FOR THE FILED
                    SOUTHERN DISTRICT OF GEORGIA           U.S. DISTRICT COURT
                             AUGUSTA DIVISION


                                                           im APR n P 12: 38
UNITED STATES OF AMERICA             *
                                     *
                                           CV 116-006 CLERK
            V.                       *     (underlying CR'-l;06-"62'8) OA.
                                     *


JEREMIAH   LANE                      *




                                ORDER




     In January 2016, Defendant Jeremiah Lane filed a motion

to vacate, set aside or correct his federal sentence pursuant

to 28 U.S.C. § 2255.       The motion was determined to be untimely

under AEDPA and dismissed on April 18, 2016.                The Eleventh

Circuit    then   denied   Defendant's    motion   for   certificate    of


appealability     in   the   case   on   September   21,   2016.      Yet,

Defendant persists in vexing the court system with frivolous

motions for reconsideration and appeals in this and in his

underlying criminal case.        It has been one year since judgment

was entered, and Defendant has yet another appeal pending in

the case, which was occasioned by the Eleventh Circuit's grant

of partial relief to Defendant in mandating that this Court

file a notice of appeal, no matter how frivolous or vexatious

the litigant was determined to be.           Presently, the Eleventh

Circuit wishes this Court to state its opinion on whether

Defendant is entitled to a Certificate of Appealability in the

case.
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     Defendant has appealed this Court's denial of his motion

for reconsideration filed after the Eleventh Circuit denied a

Certificate of Appealability.       As stated in that Order, the

motion is "frivolous and a waste of judicial resources."

{Doc. No. 22.)    Because of its frivolity, Defendant has failed

to   make   a    substantial   showing    of   the   denial    of   a

constitutional right.     Therefore, this Court will not issue a

Certificate of Appealability in the case. See 28 U.S.C. §

2253(c)(1)(B).


     ORDER ENTERED at Augusta, Georgia, this                  day of

April, 2017.




                                  UNITED STATES DISTRICT JUDG
